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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 22-mj-259
                                              :
SCOTT RAY CHRISTENSEN and                     :
HOLLY DIONNE CHRISTENSEN,                     :
                                              :
                                              :
                       Defendants.            :


                                              ORDER

       Based upon the representations in the Unopposed Motion to Continue and to Exclude Time

Under the Speedy Trial Act, and upon consideration of the entire record, it is hereby

       ORDERED that the Motion is GRANTED; it is further

       ORDERED that the currently scheduled status hearing on February 23, 2023, be

continued for good cause until April 18, 2023, at 1:00 p.m.; and it is further

       ORDERED that the time between February 23, 2023, and April 18, 2023, shall be

excluded from calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court

finds that the ends of justice served by the granting of such a continuance outweighs the best

interests of the public and the defendant in a speedy trial,as a continuance will provide the parties

additional time to continue negotiating a potential pretrial resolution and additional time to review

discovery.

Date: February 23, 2023
                                              Hon. Moxila A. Upadhyaya
                                              UNITED STATES MAGISTRATE JUDGE
